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8                                  UNITED STATES DISTRICT COURT
9                                 WESTERN DISTRICT OF WASHINGTON

10    ASHLEY VOAG,                                 NO. 19-CV-1588 MJP

11                   Plaintiff,                    ORDER GRANTING MOTION FOR
                                                   WITHDRAWAL AND SUBSTITUTION
12                   v.                            OF COUNSEL FOR CRAIG JACKSON,
13                                                 M.D.
      DEANNA KAZEN, MARY
14    WETHERED, JASMINE ALONSO,
      HONORABLE MILLIE JUDGE,                      NOTED FOR CONSIDERATION: JUNE
15    HONORABLE RICHARD OKRENT,                    19, 2020
16    HONORABLE GEORGE APPEL,
      SUSAN BECKFORD, CRYSTAL
17    ALFORD, ROBERT JOHN
      DIGERONIMO, MD, CRAIG
18
      JACKSON, MD, CHAD GORDSKE,
19    MARYSVILLE POLICE
      DEPARTMENT, MICHELLE FISH,
20
                     Defendants.
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23          THIS MATTER, having come before the Court on Defendant Dr. Jackson’s Motion
24   for Withdrawal and Substitution of Counsel, and the Court having considered:
25             1. Defendant Dr. Jackson’s Motion for Withdrawal and Substitution of Counsel;
26




     ORDER GRANTING MOTION FOR WITHDRAWAL AND
     SUBSTITUTION OF COUNSEL FOR CRAIG JACKSON, M.D. – 1
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               2. _____________________________________________________________
2                  ____________________________________________________________;
3              3. _____________________________________________________________
4                  _________________________________________________________; and
5           the papers and pleadings on file herein, with the Court being fully apprised of the
6    matters pled therein, NOW IT IS HEREBY ORDERED that Dr. Jackson’s Motion for
7    Withdrawal and Substitution of counsel is GRANTED.          Michael B. McDermott and
8    Johnson, Graffe, Keay, Moniz & Wick, LLP are no longer counsel of record for Craig
9    Jackson, M.D. IT IS FURTHER ORDERED THAT Rhianna M. Fronapfel and Bennett,
10   Bigelow and Leedom, P.S., pursuant to her Notice of Appearance, are now counsel of record
11   for Craig Jackson, M.D.   Mr. McDermott and Johnson, Graffe, Keay, Moniz & Wick, LLP
12   remain counsel of record for Robert John DiGeronimo, M.D.
13          Ordered this _30th___ day of __June__, 2020.
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                                                        A
                                                Marsha J. Pechman
17
                                         United States Senior District Judge
18   Presented by:
19   JOHNSON, GRAFFE, KEAY, MONIZ & WICK, LLP

20   s/Michael B. McDermott
     Michael B. McDermott, WSBA #42773
21
     Attorney for Defendants DiGeronimo and Jackson
22   Johnson, Graffe, Keay, Moniz & Wick, LLP
     925 Fourth Ave., Ste. 2300
23   Seattle, WA 98104
     Phone: (206) 223-4770
24   Fax: (206) 386-7344
25
     McDERMOTTM@jgkmw.com

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     ORDER GRANTING MOTION FOR WITHDRAWAL AND
     SUBSTITUTION OF COUNSEL FOR CRAIG JACKSON, M.D. – 2
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                                         CERTIFICATE OF SERVICE
2           I hereby certify under penalty of perjury under the laws of the State of Washington
3    that the following is true and correct:
4           That on the date signed below, I caused to be served in the manner indicated a true
5    and accurate copy of the foregoing, ORDER GRANTING MOTION FOR
6    WITHDRAWAL AND SUBSTITUTION OF COUNSEL FOR CRAIG JACKSON,
7    M.D., by the method indicated below and addressed to the following:
8

9       Ashley Voag                                            U.S. Mail       ☐ Overnight
        PO Box 522                                            ☐ Hand Delivery   ☐ Electronic Filing
10      Darrington WA 98241                                   ☐ Facsimile       (CM/ECF)
        Plaintiff Pro Se                                                        ☐ Messenger
11

12      Deborah A Severson                                 ☐ U.S. Mail          ☐ Overnight
        Snohomish County Prosecuting Attorney’s Office     ☐ Hand Delivery       Electronic Filing
13      Deputy Prosecuting Attorney                        ☐ Facsimile          (CM/ECF)
        Snohomish County Prosecutor – Civil Division                            ☐ Messenger
14      3000 Rockefeller Ave, M/S 504
        Everett, WA 98201
15
        Counsel for Defendants Millie Judge, George Appel,
        Richard Okrent, and Chat Gwordske
16

17
        John Walker                                           ☐ U.S. Mail       ☐ Overnight
18      Marysville City Attorney’s Office                     ☐ Hand Delivery    Electronic Filing
        1049 State Avenue                                     ☐ Facsimile       (CM/ECF)
19      Marysville, WA 98270                                                    ☐ Messenger
        Counsel for Defendant Marysville Police Department
20
        George A. Mix
21
        Mix Sanders Thompson, PLLC
22      1420 Fifth Ave., Suite 2200
        Seattle, WA 98101
23      Attorney for Defendant Marysville Police Department

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     ORDER GRANTING MOTION FOR WITHDRAWAL AND
     SUBSTITUTION OF COUNSEL FOR CRAIG JACKSON, M.D. – 3
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        Jeremy B. Jones                                        ☐ U.S. Mail       ☐ Overnight
        Assistant Attorney General                             ☐ Hand Delivery    Electronic Filing
2       Office of the Attorney General                         ☐ Facsimile       (CM/ECF)
        Torts Division                                                           ☐ Messenger
3       800 Fifth Ave., Suite 2000
        Seattle, WA 98104
4       Attorney for Defendants Michelle Fish, Jasmine Alonso,
        Mary Wethered and Deanna Kuzen
5

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7           Signed this 4th day of June, 2020 at Seattle, Washington.
8

9
                                                   s/Sandra Cameron
10                                                 Sandra Cameron, Legal Assistant
                                                   Johnson, Graffe, Keay, Moniz & Wick, LLP
11                                                 925 Fourth Ave., Ste. 2300
                                                   Seattle, WA 98104
12
                                                   Phone: (206) 223-4770
13                                                 Fax: (206) 386-7344
                                                   Sandra@JGKMW.com
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     ORDER GRANTING MOTION FOR WITHDRAWAL AND
     SUBSTITUTION OF COUNSEL FOR CRAIG JACKSON, M.D. – 4
